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               IN THE UNITED STATES COURT OF FEDERAL CLAIMS

 WARREN BERES, et al.,                 )
                                       )
         Plaintiffs,                   )         Nos. 03-785L, 04-1 456L, 04-
                                       )         1457 L, 0 4-I458L, O 4-r 459L,
 v                                     )         o 4- I 463L, O 4-r 465L, 0 4-

                                       )         r466L, 0 4- | 467 L, 0 4- I 468L,
 UNITED STATES,                        )         0 4-r469L, 0 4-147 IL, 04-
                                       )         t47 2L, 0 4-147 3L, O4-r47 4L
         Defendant.                    )
                                       )         The Honorable Marian Blank Horn
                                       )
                                       )



                  DECLARATION OF WILLIAM HUGHES



     I, William Hughes, make the following declaration:

     1. I am a United States cítizen, a resident of the State of W'ashington, over the

age of twenty-one, have personal knowledge of the facts stated here in and am

competent to testi$r to the matters stated in this Declaration. I am one of the heirs

of the Hughes Estate, a plaintiffs in Nelson u. United States, No. 04-1465L. I am

the son of William and Betty Hughes. My father's mother was Gertie Gorman

Hughes

     2. I and my wife live on property in Government Lot 1 that was formerly owned
by my parents and my grandmother, Gertie Gorman Hughes. This property is on

the east side East Lake Sammamish Parkway which is east of the railroad right of

way. We have lived there since 1980



Declaration of William Hughes 1

                                                                                 Ex. 12-1
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west side of the railroad right of way for a variety of recreational purposes. The

right of way was primarily used for access and parking. There was a driveway that

crosses the railroad right of way and then ran north on the western half of the

railroad right of way to access the property along the lake also in Government Lot 1

The right of way was also used as a source of firewood for use in the fire pits in the

area west of the right of way. The area that was used for recreation purposes was in

both Government Lot 1 and Government Lot 2

   4. The area just west of the right of way was used every year for several decades
at least through 1960s to 2000s for recreational purposes. The family built a picnic

shelter which was approximately 20 feet x 30 feet. It was located on the border of

the western edge of the railroad right of way. The shelter straddles Government Lot

1 and Government Lot 2. There is a fire pit that was built in the 1950s

approximately 10 feet by 10 feet, just north of the shelter. South of the shelter were

two horseshoe pits installed ínlg77 and used until 2000, with a pitch located

regulation distance for horseshoes of 40 feet and the pitch ran generally parallel

with the right of way edge.

   5. Our family had several picnic tables. Our mother had a big family and we
would have 50 or 60 people who would come for picnics and recreational purposes

during the summer.

   6. There is a masonry rock cook stove that was used for outdoor cooking on the
western side of the railroad right of way. I believe it was built before I was born. It

\¡/as on the path from the house I lived in as a child to the beach. My parents had




                                                                               Ex. 12-2
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two families who were friends that would camp at the north end of the northern lot

on many summer weekends in the 1950s and early 1960s

   7. These two lots, the southern lot in Government Lot 1 and the northern lot in
Government Lot 2 were used every summer for picnicking, boating, swimming,

hosting parties and a variety of recreational purposes. Firewood was cut on the

property and in the right of way and stored for campfires. Our children grew up

playing on these two lots including the entirety of the adjoining railroad right of

way

   8. No one at any time challenged our family's ownership of the uplands on the
southern lot in Government Lot 1 or the northern lot in Government Lot 2. No one

challenged our ownership or the right of way on Government Lot 1 or Government

Lot 2

   9. Attached hereto as Exhibit A is a true and correct copy of a photograph of a

homemade bench with my son lying underneath in the shade. In the background

are cement blocks which \ryere used for a fi.re pit where we would cook food for

picnics. The handwriting in Exhibit A is my wife's and I agree that this photo was

probably taken in 1987.

   10. Attached hereto as Exhibit B is a true and correct copy of a photograph

taken in 1998 in the top picture my son Jonathan and my daughter Veronica are

standing. Behind my son is a fi.re pit outlined in cement blocks. While the

construction is different from that in Exhibit A, it is generally in the same location

and the same size. In the background of the lower picture, the bench our family




                                                                              Ex. 12-3
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called the "watermelon bench"'is shown, a place where family members would sit

and eat watermelon in the summer

   11. Attached hereto as Exhibit C is a true and correct copies of photographs

taken in approximately 1990. The lower photograph shows the interior of the picnic

shelter and the type of summer use we made of this area.

   12. Attached hereto as Exhibit D is a true and correct copy of photographs taken

in 1997. The fire pit, the bench and stacked fire pit can be see along with my

daughter family and friends.

   13. Attached hereto as Exhibit E is a true and correct copy of a diagram I

received from Eric LaBrie of ESM Consulting Engineers. I met Mr. LaBrie at the

property at issue on January 4,2OI8. The uses depicted in Exhibit E are generally

accurate. Our family used all of the lands in the railroad right of way and in the

Iand to the west of the railroad right of way for several decades. W'e used it as if it

belonged to my parents and no one ever objected to our regular use of this property.

   14. In the late 1980s, my parents were interested in selling some property. They

learned from King County that the subdivision process would be time consuming,

but that they could do a boundary line adjustment. My parents agreed to add more

property to our lot through this process if I paid for surveying and other costs that

might be associated with the adjustment. As a result, my parents were able to sell

property to the Kao family.My parents specifically excluded the county road and all

of the right of way from the property they sold to the Kaos. I understood from them




                                                                                Ex. 12-4
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that they wanted the railroad right of way, the land under the county road and the

land west of the right of way to remain in the family's ownership




      I declare under penaþ of perjury under the laws of the State of Washington

that the foregoing is true and correct and was executed by me this 29th day of

January, 2018, at Bellevue, Washington.




                                       William Hughes




                                                                            Ex. 12-5
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                                                                  Ex. 12B
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                                                                 s&K 262
                                                                  Ex. 12C
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                                                                s&K 285
                                                                 Ex. 12D
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                                                                                          ) lnstalled and maintained lawn,
                                                                                            landscaping; septic drainfield.
                                                             \                           B) Access road used prior to 1998
                                                                                         C) Parking areas.
                                                                                         D) Septic tank.
                                                                                         E) Small shelter with cook stove,
                                                                                            firewood stockpiling and fire pit.
                                                                                         F) Cooktop fireplace.
                                                                                         G) Driveway/access to old house
                                                                                            from Parkway.




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